Case 2:04-cV-02417-.]DB-STA Document 74 Filed 07/19/05 Page 1 of 3 age|D 96

  

IN THE UNITED sTATEs I)ISTRICT CoURT F*LED B"“ ~ -

FoR THE WESTERN DISTRICT oF TENNESS
WESTERN DIVIsloN 1355 ~"-"- l9 PH '2‘ la
THOWS |\l\lr:)ts) `
JoHNNY BEARD, FRED BAKER & ) C w UO‘°§ H§l§§flac,.posum 0
soNs ELECTRIC, INC., ) ' ‘ ‘ ‘ `
)
Plaintiffs, )
)
vs. ) No.= 04-2417-B-An
)
BENIcoRP INSURANCE co., )
)
Defendant. )

 

ORDER SETTING TELEPHONE SCHEDULING CONFERENCE

 

Before the Court is Defendant’s Unopposed Second Motion to Stay Dispositive Motion
Deadline filed on June 24, 2005. '

The Court will hold a telephone conference on THURSDAY, JULY 21, 2005 at 11:00
p.m. regarding the proposed dispositive motion deadline which all counsel shall attend by
telephone Mr. John Russell shall initiate the telephone conference call and insure that all parties
are present prior to dialing the chambers of the Court in Jackson, Tennessee at 901-495-1495.

lT IS So oRDERED. (§§%W @;JJ

S. THOMAS ANDERSON
UNTI`ED STATES MAGISTRA'I`E JUDGE

/ l

Date: Q//Z,. /3? 235»//
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T'~is document entered on the docket shea in o liance
With F\ule so and/or 79(a) FRCP on _FLM

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:04-CV-024l7 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

